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               EXHIBIT 5
                                                                                                                               Filed
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                                                                                                          Beverley McGrew Walker
                                                                                                                      District Clerk
                                                                                                          Fort Bend County, Texas
                                                                                                             Donald Evans
                                                         21-DCV-287142
                                               CAUSE NO. ________

             JACKIE NGUYEN,                              §                  IN THE DISTRICT COURT OF
                                                         §
                    Plaintiff,                           §
                                                         §
             v.                                          §                 FORT BEND COUNTY, TEXAS
                                                         §
             INSPECTIONS NOW, INC.,                      §          Fort Bend County - 434th Judicial District Court
                                                         §
                    Defendant.                           §                  ___ JUDICIAL DISTRICT


                                 PLAINTIFF’S ORIGINAL PETITION
             __________________________________________________________________________


                    Plaintiff, Jackie Nguyen (“Ms. Nguyen”), files this Original Petition against Defendant,

             Inspections Now, Inc. (“Inspections Now”) as follows:

                                                              I.
                                                     OVERVIEW

                    1.     In February 2021, a fire erupted from the Plaintiff’s fireplace killing four people.


                                                             II.
                                          DISCOVERY CONTROL PLAN

                    2.     Under Rule 190 of the Texas Rules of Civil Procedure, Plaintiff requests that all

             discovery for this matter be conducted pursuant to a Level II Discovery Control Plan.


                                                             III.
                                                       PARTIES

                    3.     Plaintiff, Jackie Nguyen, is the surviving mother of O.N., E.N., and C.N. She is

             an individual residing in Fort Bend County, Texas and brings this suit individually against

             Defendant.

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                    4.      Defendant Inspections Now, Inc., is a corporation located in and doing business

             in the state of Texas. Inspections Now may be served via its registered agent, Joseph R. Fleet,

             at 1719 Red Oak Terrace, Kingwood, Texas 77339.


                                                            IV.
                                            JURISDICTION AND VENUE

                    5.      The claims asserted arise under the common laws of Texas. This Court has

             jurisdiction and venue is proper because all or substantially all of the events giving rise to the

             claims asserted in this lawsuit occurred in Fort Bend County, Texas. TEX. CIV. PRAC. & REM.

             CODE § 15.002.


                                                            V.
                                            BACKGROUND AND FACTS

                    6.      This lawsuit is necessary because of tragic fire that killed four people in Fort

             Bend County, Texas.

                    7.      Before the house was purchased, Defendant Inspections Now was hired to

             perform a complete inspection of the Property. The inspection report (“Report”) indicated the

             functionality and safety of the fireplace and chimney on the Property, and expressly

             represented that the “unit appears operable.” Plaintiff relied upon this report.

                    8.      On February 15, 2021, the fireplace at the Plaintiff’s home was lit. Later, the

             Property caught fire and four people died.




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                                                              VI.
                                                 CAUSES OF ACTION

             A.     Negligence.
                    9.      Plaintiff hereby incorporates by reference all preceding paragraphs as if fully

             set forth therein.

                    10.     Inspections Now owed a legal duty to Ms. Nguyen to act as a reasonable person

             would in performing a proper chimney and fireplace inspection. The Chimney Safety Institute

             of America sets forth industry standards for chimney inspections and requires inspectors to

             perform a Level II chimney inspection upon the sale or transfer of a property.

                    11.     Inspections Now breached its duty to Ms. Nguyen and its negligence caused her

             injuries when it failed to properly inspect the Property.

             B.     Wrongful Death.

                    12.     Plaintiff hereby incorporates by reference all preceding paragraphs as if fully

             set forth herein.

                    13.     The acts and failures to act by Defendant proximately caused the fire which

             ultimately destroyed the Property and caused the Decedents’ untimely deaths.

                    14.     Under § 71.022 of the Texas Civil Practice and Remedies Code, Ms. Nguyen is

             entitled to recover for the death of Decedents and damages suffered, including, but not limited

             to, the loss of companionship, pain, and suffering, and mental anguish in the past and future.


                                                              VII.
                                            DEMAND FOR JURY TRIAL

                    15.     Plaintiff demands a jury trial.




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                                                          VIII.
                          TEXAS RULES OF CIVIL PROCEDURE RULE 47 STATEMENT

                    16.     Under Rule 47 of the Texas Rules of Civil Procedure, Mr. Nguyen states that he

             seeks monetary relief in excess of $1,000,000.00.


                                                           IX.
                                             ALL CONDITIONS PRECEDENT

                    17.     All conditions precedent to the causes of actions brought by Mr. Nguyen have

             occurred.


                                                           X.
                                              CONCLUSION AND PRAYER

                    Plaintiff prays that this citation issue and be served on Defendant in a form and manner

             prescribed by law, requiring that Defendants appear and answer, and that upon final hearing,

             Plaintiff has judgment against Defendant, both jointly and severely, in a total sum in excess of

             the minimum jurisdictional limits of this Court, plus prejudgment and post judgment interests,

             all costs of Court, exemplary damages, and all such other and further relief, to which she may

             show herself justly entitled.

             Date: September 7, 2021

                                                         Respectfully submitted,
                                                         ARNOLD & ITKIN LLP

                                                         /s/ Jason A. Itkin
                                                         Jason A. Itkin
                                                         State Bar No. 24032461
                                                         Cory D. Itkin
                                                         State Bar No. 24050808
                                                         6009 Memorial Drive
                                                         Houston, Texas 77007

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                                                       Facsimile: (281) 277-1505
                                                       scott@westfirm.com

                                                       ATTORNEYS FOR PLAINTIFFS

                                          CERTIFICATE OF SERVICE

                     I hereby certify that a true and correct copy of the above and foregoing document has
             been forwarded to all counsel of record in accordance with the Texas Rules of Civil Procedure
             on this 7th day of September 2021.


                                                       /s/ Jason A. Itkin
                                                       Jason A. Itkin




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